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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                  Case No.1:18-cv-23576-KMW

   AM GRAND COURT LAKES LLC
   & AM 280 SIERRA DRIVE LLC,

             Plaintiffs/Counter-Defendants,

   v.

   ROCKHILL INSURANCE COMPANY,

        Defendant/Counter-Plaintiff.
   ______________________________/

         DEFENDANT/COUNTER-PLAINTIFF’S REPLY TO PLAINTIFFS’/COUNTER-
         DEFENDANTS’ RESPONSE IN OPPOSITION TO MOTION TO STRIKE AND
           DAUBERT MOTION TO EXCLUDE EXPERTS AND INCORPORATED
                           MEMORANDUM OF LAW

             Defendant/Counter-Plaintiff, ROCKHILL INSURANCE COMPANY (“Defendant”

   or “Rockhill”), by and through its undersigned counsel and pursuant to Local Rule 7.1

   (c), files its Reply to Plaintiffs’/Counter-Defendants’ Response in Opposition to Motion to

   Strike and Daubert Motion to Exclude Experts and Incorporated Memorandum of Law

   [D.E. #116], stating as follows:

        I.      INTRODUCTION

             As the Court is aware, the instant lawsuit arises out of an alleged September 10,

   2017 Hurricane Irma loss and damages to certain real property located at 280 Sierra

   Drive, North Miami, Florida 33179 (the “Insured Property”) which the Plaintiffs, AM

   GRAND COURT LAKES LLC and AM 280 SIERRA DRIVE LLC. (the “Plaintiffs”)

   contend are covered under an insurance policy they entered into with Defendant, Policy

   Number RCPPRU000002 (the “Policy”), with effective dates November 7, 2016 through

   November 7, 2017.
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          On March 12, 2019, Plaintiffs filed a Supplemented Expert Witness List [D.E.

   #50] (the “Expert Disclosures”) setting forth three (3) professed experts, to wit: Sergio

   Arce, Alfredo Brizuela and Alain Gonzalez, and attaching the (strikingly similar)

   “Affidavits” of these gentlemen, which Plaintiffs intend to utilize as expert reports in this

   case. See [D.E. #50], pgs. 1- 2.

          On July 5, 2019, Defendant filed its Motion to Strike and Daubert Motion to

   Exclude Plaintiffs’ Experts and their proffered testimony and Incorporated Memorandum

   of Law [D.E. #109] (the “Daubert Motion”). On July 19, 2019, Plaintiffs filed their

   Response in Opposition to Defendant’s Motion to Strike and Daubert Motion to Exclude

   Plaintiffs’ Experts and Incorporated Memorandum of Law [D.E. #116] (the “Response”).

          For reasons more particularly set forth herein, Plaintiffs’ Response is without

   merit and the ostensibly disclosed experts should be stricken and/or their proffered

   expert testimony be excluded.

   II.    THE AVOWED “CORRESPONDING DISCLOSURES” SHOULD NOT BE
          CONSIDERED TO BE PART OF THE PLAINTIFFS’ EXPERTS SO-CALLED
          “REPORTS”

          In their Response, Plaintiffs first argue that Defendant has “mislead” this Court in

   the Daubert Motion by failing to refer to the unorganized mass of materials they

   produced on a thumb drive on the evening of March 13, 2019, which Plaintiffs now

   suddenly and conveniently refer to as “corresponding disclosures”, consisting of “well

   over 12,000 photos that in native form memorialized the conditions in question and the

   associated diagnostic testing as further discussed below; weather data; repair records;

   the pre-suit public adjusters photos, estimate, reports, etc.”. See [D.E. #116], pg. 3.




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          Plaintiffs also rely on these purported “corresponding disclosures” in subsequent

   arguments that their “experts”: (A) “fully set forth all facts, data, principles and methods

   that were utilized to formulate their opinions” by way of producing “approximately 13,000

   pages in corresponding documentary disclosures”; and, (B) “fully complied with the

   required disclosures” by way of delivering the thumb drive “to not only serve reflective of

   the conditions that were found to be consistent with the cause of loss, but also to reveal

   the findings of the various diagnostic tests that were relied upon to formulate their

   opinions. See [D.E. #116], pg. 8-10.

          However, the unorganized mass of materials contained on Plaintiffs’ thumb

   drive 1, which were produced in conjunction with Plaintiffs’ (out-of-time) Response to

   Defendant’s Expert Request for Production, are not referenced anywhere in the

   feigned Affidavits and, aside from vague references to unspecified “site inspections”,

   “moisture reads”, “thermal imaging”, “visual inspections” and “observable conditions”,

   there are absolutely no specific correlations drawn between these materials and

   the findings, if any at all [emphasis supplied]. See [D.E. #50]. As such, Plaintiffs’

   attempt to label these items as “corresponding disclosures” is nothing more than a

   disingenuous but transparent last-ditch effort to impermissibly buttress their incomplete,

   insufficient and non-compliant “reports” with additional information, and Plaintiffs’

   statement that “Defendant is misleading this Court by failing to reference these so-

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     Interestingly, Plaintiffs later claim that these ostensibly declared experts “worked together and
   relied upon exhaustive diagnostic testing that was fully memorialized and incorporated into a
   collection of well over 12,000 photos, and an exhaustive list of reasonably relied upon
   information and data which consisted of, amongst other things, the following: over 12,000
   photos that in native form memorialized the conditions in question and the associated diagnostic
   testing; weather data; repair records; the pre-suit public adjusters photos, estimate, reports,
   etc.” [emphasis supplied]. See [D.E. #116], pg. 15. However, as the Court may recall from
   prior proceedings, Plaintiffs were ordered to provide such a list to defense counsel in advance of
   the Joint Pretrial Stipulation being filed in the instant case but failed to do so, despite request.
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   called “corresponding disclosures” should not be well-taken by the Court. See [D.E.

   #116], pg. 3.

   III.   PLAINTIFFS ARE CHARGED WITH LAYING A PROPER FOUNDATION FOR
          THE EXPERTS THEY HAVE DISCLOSED AND NEITHER TESTIMONY OR
          DEPOSITIONS SHOULD BE NECESSARY TO DECIPHER THEIR
          METHODOLOGY OR OPINIONS

          Additionally, in the Response, Plaintiffs suggest that Defendant was somehow

   required to address and/or remedy the deficiencies in Plaintiffs’ Expert Disclosures, and

   that it was incumbent upon Defendant to flesh-out the non-existent methodology and/or

   opinions through depositions. See [D.E. #116], pg.10-11. (“If the Defendant had any

   remaining   questions    or   uncertainties   in   relation   to   the   Plaintiffs’   experts’

   reports/affidavits/disclosures, then those issues should have been addressed through a

   specific and substantive predicate conferral with Plaintiffs’ counsel, or as one would

   expect if the disclosure concerns were genuine and truly subject to being substantively

   adjudicated, by way of deposing the Plaintiffs’ experts”). However, as the party offering

   the expert testimony, it is Plaintiffs who carry the burden of laying the proper foundation

   for its admission by a preponderance of the evidence. See Allison v. McGhan Med.

   Corp., 184 F.3d 1300, 1306 (11th Cir. 1999). See also United States v. Frazier, 387

   F.3d 1244, 1260 (11th Cir. 2004)(“The burden of establishing qualification, reliability, and

   helpfulness rests on the proponent of the expert opinion . . .”). In addition, consistent

   with the rules and decisional law of this Court, the Seventh Circuit noted:

          Rule 26(a) expert reports must be “detailed and complete.” A complete
          report must include the substance of the testimony which an expert is
          expected to give on direct examination together with the reasons therefor.
          The report must be complete such that opposing counsel is not forced to
          depose an expert in order to avoid ambush at trial; and moreover the
          report must be sufficiently complete so as to shorten or decrease the need
          for expert depositions and thus to conserve resources... Expert reports

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          must include “how” and “why” the expert reached a particular result, not
          merely the expert's conclusory opinions... The “incentive for total
          disclosure” is the threat that the expert not disclosed in accordance with
          the rule can be excluded pursuant to Rule 37(c)(1).

   Salgado v. General Motors Corp., 150 F.3d 735, n. 6 (7th Cir. 1998). Another district

   court appropriately noted:

          The interests served by requiring the disclosure of expert opinions is self
          evident. It is to prevent unfair surprise at trial and to permit the opposing
          party to prepare for the expert's cross examination. By “locking” the expert
          witness into what Fed. R. Civ. P. 26(a)(2)(B) calls “a complete statement
          of all opinions to be expressed and the basis and reasons therefore,” the
          opposing party knows exactly what she is facing and can decide whether
          to take the deposition of the expert and how to prepare for cross
          examination and rebuttal.

   Coles v. Perry, 217 F.R.D. 1, 4 (D.D.C. 2003).

   IV.    PLAINTIFFS HAVE FAILED TO REFUTE OR ADDRESS MANY OF
          DEFENDANT’S KEY ARGUMENTS IN THE DAUBERT MOTION

          Significantly, Plaintiffs have failed to refute or meaningfully address many of

   Defendant’s key arguments contained in the Daubert Motion. These include, but are

   not necessarily limited to:

                 A.     Defendant’s arguments that the methodology of the three

          individuals disclosed as proclaimed experts is not sufficiently reliable and

          would not assist the trier of fact in understanding the evidence or

          determining a fact at issue, pursuant to Daubert v. Merrell Dow Pharm.,

          Inc., 509 U.S. 579, 113 S.Ct. 2786, 125 L.Ed.2d 469 (1993). See [D.E.

          #109], pg. 7-8, 1-13.

                 B.     The fact that Plaintiffs re-filed the same unexecuted Affidavit

          of Sergio Arce [D.E. #44-1] that was stricken by this Court, which states




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        that his opinions and findings were not complete when the Affidavit was

        filed. See [D.E. #109], pg. 7-8.

              C.     The references in all three (3) of the Purported Experts’

        Affidavits to unspecified “site inspections”, “moisture reads”, “thermal

        imaging”, “visual inspections” and “observable conditions”, which do not

        lead to any conclusion that they actually performed any inspections or

        testing or employed any methodology to determine the scope and cause

        of the purported damages. See [D.E. #109], pg. 8, 10, 12.

              D.     The fact that the photographs attached to Mr. Arce’s Affidavit

        are not analyzed or discussed anywhere by anyone. See [D.E. #109], pg.

        8, FN4.

              E.     The fact that numerous documents contained in the Expert

        Disclosures were dated after the expert disclosure deadline, without any

        explanation or justification for their tardiness. See [D.E. #109], pg. 9, 10,

        12, 17.

              F.     Defendant’s argument that Plaintiffs’ Expert Affidavits are

        Not Supplemental Disclosures pursuant to Fed. R. Civ. P. 26(a)(2)(B).

        See [D.E. #109], pg. 17-18.

              G.     The impermissible bootstrapping of Mr. Brizuela’s and Mr.

        Gonzalez’ “opinions”. See [D.E. #109], pg. 10, 11, 13, 14.

              H.     The specific enumerated requirements of Fed. R. Civ. P.

        26(a)(2)(B), with which Plaintiffs’ Expert Disclosures fail to comply. See

        [D.E. #109], pg. 14-16.



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          Instead of addressing these arguments, Plaintiffs make superfluous and

   irrelevant arguments which are in no way responsive to Defendant’s Daubert Motion,

   such as their claim that Defendant failed to perform necessary diagnostic testing on the

   Insured Property. See [D.E. #116], pg. 3-5. Similarly, Plaintiffs inexplicably utilized

   almost four (4) pages of its Response to cut-and-paste the Affidavit of Alfredo Brizuela

   as part of their argument, but this in no way refutes the portion of Defendant’s Daubert

   Motion which specifically addresses the deficiencies of this very same Affidavit as an

   “expert report”. See [D.E. #116], pg. 5-8 2.

   V.     PLAINTIFFS’ ARGUMENT AS TO SERGIO ARCE’S QUALIFICATION AS AN
          EXPERT IS WHOLLY IMPROPER AND UNPERSUASIVE

          In the last section of their Response, Plaintiffs focus on trying to rehabilitate

   Sergio Arce as a qualified expert in this case. First, Plaintiffs cite to an single-page

   Verdict Form from a completely unrelated state court action (where the plaintiffs were

   also represented by Font & Nelson, PLLC) which lacks predicate, attached as an

   improper exhibit to the Response, claiming that this document somehow demonstrates

   how Mr. Arce’s “expert” opinion “controverted the insurer’s expert engineer’s opinion

   that the damages at issue amounted to $17,000-as opposed to the $154,000 attested to

   by Mr. Arce, and awarded by the jury”. See [D.E. #116], pg. 17. Obviously, this

   document, standing alone, has zero probative value with regard to Mr. Arce’s

   experience as an expert. Plaintiffs then proceed to paraphrase numerous portions of

   Mr. Arce’s Affidavit which deal with his background and supposed qualifications,

   emphasizing Mr. Arce’s claim that he is “commonly retained to serve as an expert for

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     Because a reply memorandum must be strictly limited to rebuttal of matters raised in the
   memorandum in opposition without re-argument of matters covered in the movant’s initial
   memorandum of law, Defendant will not re-address the deficiencies of Mr. Brizuela’s Affidavit at
   this juncture. See Local Rule 7.1(c)..
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   purposes of litigation”. See [D.E. #116], pg. 17-19. However, Mr. Arce’s Curriculum

   Vitae, provided as part of Plaintiffs’ Expert Disclosures, does not include “a list of all

   other cases in which, during the previous 4 years, the witness testified as an expert at

   trial or by deposition”, in violation of Fed. R. Civ. P. 26(a)(2)(B)(v) See [D.E. #50].

   Further, Mr. Arce himself concedes he is not acting as an expert in this case.

   VI.   CONCLUSION

         Plaintiffs Response in Opposition to Defendant’s Motion to Strike and Daubert

   Motion to Exclude Plaintiffs’ Experts and Incorporated Memorandum of Law fails to

   address many of the key arguments advanced by Defendant in the Daubert Motion,

   demonstrating that Plaintiffs seem to recognize the glaring and unjustifiable deficiencies

   in their Expert Disclosures. Instead, they argue that “[a] less-than-perfect expert opinion

   may still be admitted, even if it contains gaps”, and that such testimony must be

   excluded “’only if the expert's opinion is so fundamentally unsupported that it can offer

   no assistance to the jury". See [D.E. #116], pg. 14(citing In re Trasylol Prods. Liab.

   Litig., 2010 WL 1489793, at *6 (S.D. Fla. 2010)). Yet, Plaintiffs’ Expert Disclosures

   contain chasms – not gaps, and that the opinions of these professed experts are so

   fundamentally unsupported as to render all of them of no assistance to the jury in the

   instant case. Consequently, all three (3) disclosed self-proclaimed experts should be

   stricken and their proffered expert testimony should be excluded.

         WHEREFORE, Defendant, ROCKHILL INSURANCE COMPANY, respectfully

   requests the Court to enter an Order granting its Motion to Strike and Daubert Motion to

   Exclude Plaintiffs’ Experts [D.E. #109] and awarding any further relief deemed just and

   proper under the circumstances.



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                                   CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on July 26th, 2019, the undersigned

   electronically filed the foregoing document with the clerk of the Court using CM/ECF.

   The undersigned also certifies that the foregoing document is being served this day to:

   Font & Nelson, PLLC, 200 S. Andrews Avenue, Suite 501, Fort Lauderdale, Florida

   33301 (jfont@fontnelson.com; afriedman@fontnelson.com; bfischer@fontnelson.com;

   fnelson@fontnelson.com;            gvega@fontnelson.com;            jproffitt@fontnelson.com;

   jwilds@fontnelson.com; nkronen@fontnelson.com; pleadings@fontnelson.com); either

   via transmission of Notices of Electronic Filing generated by CM/ECF or in some other

   authorized manner for those counsel or parties who are not authorized to receive

   electronically Notices of Electronic filing.

                                                  LEVY LAW GROUP

                                                  /s/Lauren D. Levy __________
                                                  LAUREN D. LEVY, ESQ.
                                                  Florida Bar No.: 0116490
                                                  PAULA LEVY PARKES, ESQ.
                                                  Florida Bar No.: 0117031
                                                  3399 Ponce de Leon Boulevard, Suite 202
                                                  Coral Gables, Florida 33134
                                                  Telephone: (305) 444-1500
                                                  Facsimile: (305) 503-9295
                                                  Attorney for Defendant/Counter-Plaintiff




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